      Case 4:19-cv-00532-O Document 30 Filed 05/18/20                Page 1 of 1 PageID 542



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

 VITA NUOVA, INC.,                                §
                                                  §
      Plaintiff,                                  §
                                                  §
 v.                                               §    Civil Action No. 4:19-cv-00532-O
                                                  §
 ALEX M. AZAR II, in his official                 §
 capacity as Secretary of Health and              §
 Human Services et al.,                           §
                                                  §
      Defendants.                                 §


                                              ORDER

         In light of this Court’s Memorandum Opinion and Order (ECF No. 28), issued May 1,

2020—and Defendants’ Answer (ECF No. 29), filed May 15, 2020—the Court finds that a joint

status report will be useful to resolve this issue in a timely manner. Accordingly, it is

ORDERED that Plaintiff and Defendants submit a joint status report, detailing how the parties

plan to proceed in this case, on or before May 29, 2020.

         SO ORDERED on this 18th day of May, 2020.



                                                _____________________________________
                                                Reed O’Connor
                                                UNITED STATES DISTRICT JUDGE




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